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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA
                    VS                                            CASE NO. 3:00-CR-12-001/LAC

      SERAPHIN BERTRAND

                                   FINANCIAL REFERRAL AND ORDER

Regarding refund of funds for: X Fine,     Restitution,      Filing Fee,    Attorney Admission Fee,
   Copy Fee, Bond,         Other (Specify)

By:      Seraphin Bertrand #66106-004 (Payee)
Address: FMC Butner
         PO Box 1600
         Butner, NC 27509

Receipt Number B030708DFLN300CR000012

Date of Receipt          4/21/08

Motion: N/A

Explanation: Seraphin Bertrand’s $100.00 special assessment and $1,000.00 fine were paid on March 19,
2008. The Clerk’s office received $30.00 on the March 2008 Bureau of Prisons (BOP) report. According
to the court dockets and financial records, Mr. Bertrand does not owe any additional money. Requesting
authorization to refund the $30.00 overpayment and any other payments we may receive from the BOP
for this case. There may be a timing difference on the BOP stopping payments from this account.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: __s/Philip Detweiler_____________
            Philip Detweiler, Financial Specialist               Date: April 28, 2008

Referred by:                              ,Deputy Clerk

                                          ORDER OF COURT

It is ORDERED this 28th day of April, 2008, that the Clerk refund the identified funds to the payee.

APPROVED                  X

DENIED_________________                                          s /L.A. Collier
                                                              LACEY A. COLLIER
                                                       SENIOR UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
